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                                                                                   USDC SDNY
                                                                                   DOCUMENT
         UNITED STATES DISTRICT COURT                                              ELECTRONICALLY FILED
         SOUTHERN DISTRICT OF NEW YORK                                             DOC #:
         ---------------------------------------------------X                      DATE FILED: 6/14/2019

         UNITED STATES OF AMERICA,                                            14 Cr. 68 (KBF)

                                            Plaintiff,                        NOTICE OF DEFENDANT ROSS
                                                                              ULBRICHT’S MOTION FOR
                                                                              DISCOVERY IN PROCEEDING
                                                                              PURSUANT TO 28 U.S.C. § 2255
                                     -v-

         ROSS WILLIAM ULBRICHT,

                                            Defendant.

         ----------------------------------------------------X

                 PLEASE TAKE NOTICE that upon the attached Declarations of Paul Grant and of

         Andrew Sayler, and upon all prior papers and proceedings herein, the defendant, Ross Ulbricht,

         will move before the Court, at the United States Courthouse located at 500 Pearl Street, New

         York, at a time and date to be set by the Court, or as soon thereafter as counsel may be heard, for

         the following relief: an order allowing Mr. Ulbricht to receive and use, as appropriate in his 28

         U.S.C. § 2255 proceeding, the content of three sealed magistrate files, files identified as 13

         MAG 2258, 13 MAG 2274, AND 13 MAG 2275, and for any such other and further relief as the

         Court deems just and proper.

         Executed this 11th day of June, 2019
         Parker, Colorado
                                                                /s/ Paul Grant
                                                                Paul Grant
This matter has assigned to me for all purposes.
                                                                Law Office of Paul Grant
The Government shall file a response to this motion
                                                                19501 E. Mainstreet, Suite 200
on or before June 28, 2019. Defendant shall file a
                                                                Parker, CO 80138
reply on or before July 8, 2019.                                303-909-6133
Dated: June 14, 2019
New York, New York
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